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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

VI TECHNOLOGIES, LLC,

                Plaintiff,                            CIVIL ACTION NO. 6:21-CV-00318-ADA

       v.                                                    JURY TRIAL DEMANDED

WOOLPERT, INC.,

                Defendant.



               JOINT MOTION TO STAY AND NOTICE OF SETTLEMENT

       Plaintiff VI Technologies, LLC ("VI") and Defendants Woolpert, Inc. ("Woolpert")

(collectively, the "Parties") hereby file this Joint Motion to Stay and Notice of Settlement.

       VI and Woolpert have reached settlement in principle of all matter in controversy between

the Parties and are in the process of finalizing the documents pertaining to the settlement. The

Parties wish to conclude the settlement without burdening the Court with additional filings and

without incurring unnecessary expense. The Parties anticipate they will be able to submit dismissal

papers on or before March 28, 2022. Accordingly, the Parties respectfully request that the Court

grant a stay of all proceedings between the Parties, including all pending deadlines between the

Parties until March 28, 2022.

       The Parties submit that good cause exists for granting a stay, as set forth above. The

Parties’ request is not for the purposes of delay, but so justice may be served. Wherefore, the

Parties respectfully request that the Court enter the proposed order submitted with this joint motion

and grant the Parties such order and further relief to which they are entitled.

       Dated: February 28, 2022               Respectfully submitted,

                                              By: /s/ Fred I. Williams


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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on February 28, 2022 the undersigned caused a copy

of the foregoing document to be served on all counsel of record, via the Court's CM/ECF system,

pursuant to the Federal Rules of Civil Procedure.

                                                    /s/ Fred I. Williams
                                                    Fred I. Williams


                            CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that counsel for VI Technologies, LLC. and counsel for

Woolpert met and conferred, and all parties agree to filing the foregoing document as a joint

motion.

                                                    /s/ Fred I. Williams
                                                    Fred I. Williams




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